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1    Ryan Lee (SBN: 235879)
     rlee@consumerlawcenter.com
2    Matthew A. Rosenthal (SBN 279334)
     mrosenthal@consumerlawcenter.com
3    Krohn & Moss, Ltd.
     10474 Santa Monica Blvd., Suite 405
4    Los Angeles, CA 90025
     Tel: (323) 988-2400
5    Fax: (866) 861-1390
     BRIAN LIVESAY
6
                           IN THE UNITED STATES DISTRICT COURT
7                            SOUTHERN DISTRICT OF CALIFORNIA
8

9
     BRIAN LIVESAY,                               )   Case No.: '15CV1640 WQHJMA
10                                                )
                                                  )   COMPLAINT AND DEMAND FOR
11                 Plaintiff,                     )   JURY TRIAL
                                                  )
12         v.                                     )   (Unlawful Debt Collection Practices)
                                                  )
13                                                )
     TARGET CORPORATION,                          )
14                                                )
                                                  )
15                 Defendant.                     )
                                                  )
16

17         BRIAN LIVESAY (Plaintiff), by his attorneys, KROHN & MOSS, LTD., alleges the

18   following against TARGET CORPORATION (Defendant):

19                                         INTRODUCTION

20      1. Count I of Plaintiff’s Complaint is based on Telephone Consumer Protection Act, 28

21         U.S.C. § 227 et seq. (TCPA).

22      2. Count II of the Plaintiff’s Complaint is based on Rosenthal Fair Debt Collection Practices

23         Act, Cal. Civ. Code § 1788 et seq. (RFDCPA).

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                                        PLAINTIFF’S
                                                 - 1COMPLAINT
                                                    -
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                                   JURISDICTION AND VENUE
1
       3. Jurisdiction of this Court over Counts I of Plaintiff’s Complaint arises pursuant to 28
2
          U.S.C. § 1331, and 28 U.S.C. § 1367 grants this court supplemental jurisdiction over the
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          state claims contained herein.
4
       4. Defendant conducts business in the State of California thereby establishing personal
5
          jurisdiction.
6
       5. Venue is proper pursuant to 28 U.S.C. § 1391(b)(2).
7
                                               PARTIES
8
       6. Plaintiff is a natural person residing in San Diego, San Diego County, California.
9
       7. Defendant is a business entity with a principal place of business in Wilmington, Delaware.
10
       8. Defendant acted through its agents, employees, officers, members, directors, heirs,
11
          successors, assigns, principals, trustees, sureties, subrogees, representatives, and insurers.
12
                                    FACTUAL ALLEGATIONS
13
       9. In or around 2014, Defendant began constantly and continuously places collection calls to
14
          Plaintiff seeking and demanding payment for an alleged debt.
15
       10. Plaintiff’s alleged debt arose through a consumer credit transaction.
16
       11. Defendant places collection calls from telephone numbers, including, but not limited to,
17
          952-852-0003 and 612-307-5881,
18
       12. Defendant places collection calls to Plaintiff’s cellular telephones at phone number 858-
19
          752-75XX.
20
       13. Base upon the timing and frequency of Defendant’s calls and per its prior business
21
          practices, each of Defendant’s calls were placed using an automatic telephone dialing
22
          system.
23
       14. On or around February 4, 2015 at approximately 9:48 a.m., Plaintiff spoke to Defendant’s
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          representative, “Susann,” and requested that Defendant cease calling his cellular
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                                        PLAINTIFF’S
                                                 - 2COMPLAINT
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1          telephone.

2       15. Plaintiff revoked any consent, express, implied or otherwise, to receive automated

3          collection calls from Defendant in the course of the telephone conversations on or around

4          February 4, 2015.

5       16. Despite Plaintiff’s request to cease, Defendant continued to place multiple collection calls

6          to Plaintiff on a daily basis.

7       17. Defendant placed at least one hundred and one (101) collection calls to Plaintiff over an

8          approximate four-month period between February 4, 2015 and June 5, 2015.

9                                                COUNT I

10     DEFENDANT VIOLATED THE TELEPHONE CONSUMER PROTECTIONS ACT

11      18. Defendant’s actions alleged supra constitute numerous negligent violations of the TCPA,

12         entitling Plaintiff to an award of $500.00 in statutory damages for each and every violation

13         pursuant to 47 U.S.C. § 227(b)(3)(B).

14      19. Defendant’s actions alleged supra constitute numerous and multiple knowing and/or

15         willful violates of the TCPA, entitling Plaintiff to an award of $1500.00 in statutory

16         damages for each and every violation pursuant to 47 U.S.C. § 227(b)(3)(B) and 47 U.S.C.

17         § 227(b)(3)(C).

18         Wherefore, Plaintiff, BRIAN LIVESAY, respectfully requests judgment be entered

19   against Defendant, TARGET CORPORATION for the following:

20      20. Statutory damages of $500.00 for each and every negligent violation of the TCPA pursuant

21         to 47 U.S.C. § (b)(3)(B);

22      21. Statutory damages of $1500.00 for each and every knowing and/or willful violation of the

23         TCPA pursuant to 47 U.S.C. § (b)(3)(b) and 47 U.S.C. § (b)(3)(C);

24      22. All court costs, witness fees and other fees incurred; and

25      23. Any other relief that this Honorable Court deems appropriate.




                                            PLAINTIFF’S
                                                     - 3COMPLAINT
                                                        -
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1                                 COUNT II
           DEFENDANT VIOLATED THE ROSENTHAL FAIR DEBT COLLECTION
2                              PRACTICES ACT
3       24. Plaintiff repeats and realleges all of the allegations in Count I of Plaintiff’s Complaint as
4          the allegations in Count II of Plaintiff’s Complaint.
5       25. Defendant violated the RFDCPA based on the following:
6              a. Defendant violated § 1788.11(d) of the RFDCPA by causing a telephone to ring
7                  repeatedly or continuously to annoy the person called;
8              b. Defendant violated § 1788.11(e) of the RFDCPA by communicating with Plaintiff
9                  with such frequency as to be unreasonable and to constitute a harassment to
10                 Plaintiff.
11             c. Defendant violated § 1788.17 of the RFDCPA by failing to comply with the Fair
12                 Debt Collection Practices, Act, 15 U.S.C. § 1692 et seq., to wit:
13                       1. Defendant violated §1692d of the FDCPA by engaging in conduct the
14                              natural consequence of which is to harass, oppress, or abuse Plaintiff;
15                       2. Defendant violated §1692d(5) of the FDCPA by causing a telephone to
16                              ring repeatedly or continuously with intent to annoy, harass, or abuse
17                              Plaintiff.
18         WHEREFORE, Plaintiff, BRIAN LIVESAY, respectfully requests judgment be entered
19   against Defendant, TARGET CORPORATION for the following:
20      26. Statutory damages of $1,000.00 pursuant to the Rosenthal Fair Debt Collection Practices
21         Act, Cal. Civ. Code §1788.30(b),
22      27. Costs and reasonable attorneys’ fees pursuant to the Rosenthal Fair Debt Collection
23         Practices Act, Cal. Civ Code § 1788.30(c), and
24      28. Any other relief that this Honorable Court deems appropriate.
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                                             PLAINTIFF’S
                                                      - 4COMPLAINT
                                                         -
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1                                             RESPECTFULLY SUBMITTED,
        DATED: July 23, 2015
2
                                               KROHN & MOSS, LTD.
3

4
                                        By: /s/Ryan Lee
5                                              Ryan Lee
                                               Attorney for Plaintiff
6

7

8                                 DEMAND FOR JURY TRIAL

9            PLEASE TAKE NOTICE that Plaintiff, BRIAN LIVESAY, demands a jury trial in this

10   case.

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                                      PLAINTIFF’S
                                               - 5COMPLAINT
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